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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS



 IN RE: PHARMACEUTICAL INDUSTRY              )
 AVERAGE WHOLESALE PRICE                     )
 LITIGATION                                  )     MDL NO. 1456
                                             )     Master File No. 01-12257-PBS
                                             )
 THIS DOCUMENT RELATES TO                    )
                                             )     Subcategory Case No. 06-11337
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v. Abbott    )
 Laboratories, Civil Action No. 06- 11337    )     Hon. Patti B. Saris
                                             )
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v. Dey       )
 L.P., et al., Civil Action No. 05- 11084    )
                                             )
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v.           )
 Boehringer Ingelheim Corp., et al., Civil   )
 Action No. 07- 10248                        )
                                             )
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v. Abbott    )
 Laboratories, Civil Action No. 07-11618     )



            CONSENT MOTION TO MODIFY BRIEFING SCHEDULE AND
                CONSOLIDATE OPPOSITION TO DEFENDANTS’
            MOTIONS TO DISMISS INTO ONE MEMORANDUM OF LAW


      Ven-A-Care of the Florida Keys, Inc. ("Plaintiff", "Relator" or "Ven-A-Care")

requests, with the agreement of the other Parties, that the Court modify the briefing

schedule in the above referenced cases, extend the time limits of the briefing schedule

and allow the Relator to consolidate its arguments in opposition to the Defendants’
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Motions to Dismiss in three of the above referenced cases into one memorandum of

law and in support states as follows:

       Ven-A-Care is the Relator in the following cases: United States of America ex rel.

Ven-A-Care of the Florida Keys, Inc. v. Abbott Laboratories, Civil Action No. 06-11337

(“Abbott Case No. 06-11337); United States of America ex rel. Ven-A-Care of the

Florida Keys, Inc. v. Dey L.P., et al., Civil Action No. 05- 11084 (the “Dey Case”); United

States of America ex rel. Ven-A-Care of the Florida Keys, Inc. v. Boehringer Ingelheim

Corp., et al., Civil Action No. 07- 10248 (the “Roxane Case”); and United States of

America ex rel. Ven-A-Care of the Florida Keys, Inc. v. Abbott Laboratories, Civil Action

No. 07-11618 (“Abbott Case No. 07-11618"). For purposes of the instant Motion, Ven-

A-Care will refer to Abbott Case No. 06-11337, the Dey Case and the Roxane Case

collectively as the “Ven-A-Care intervened cases.” The Ven-A-Care intervened cases

are on a separate briefing schedule from Abbott Case No. 07-11618.

       The Dey Case, the Roxane Case and Abbott Case Number 06-11337

       1.     Defendant Abbott Laboratories, Inc. (“Abbott”), Defendants Dey Inc., Dey

L.P., and Dey L.P., Inc. (the “Dey Defendants”) and Defendants Boehringer Ingelheim

Corp., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer Ingelheim Roxane, Inc.,

and Roxane Laboratories, Inc. (the “Roxane Defendants”) have each filed motions to

dismiss for lack of subject matter jurisdiction in the above referenced intervened actions

based upon the False Claims Act’s “public disclosure bar”:

              a.     The Roxane Defendants’ Motion to Dismiss for Lack of Subject

                     Matter Jurisdiction and The Roxane Defendants’ Memorandum in
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                   Support of Motion to Dismiss for Lack of Subject Matter

                   Jurisdiction. [Master Docket 6196 & 6197; Subcategory Docket 253

                   & 254];

             b.    Defendants Dey, Inc., Dey, L.P. and Dey L,P., Inc.’s Motion to

                   Dismiss the Relator’s Complaints for Lack of Subject Matter

                   Jurisdiction and Defendants Dey, Inc., Dey, L.P., and Dey L.P.,

                   Inc.’s Memorandum of Law in Support of their Motion to Dismiss

                   the Relator’s Complaints for Lack of Subject Matter Jurisdiction.

                   [Master Docket 6209 & 6210; Subcategory Docket 265 & 267];

             c.    Abbott Laboratories, Inc.’s Motion to Dismiss for Lack of Subject

                   Matter Jurisdiction Under the False Claims Act’s Public Disclosure

                   Bar and Abbott Laboratories, Inc.’s Memorandum in Support of

                   Motion to Dismiss for Lack of Subject Matter Jurisdiction Under the

                   False Claims Act’s Public Disclosure Bar in Case No. 06-11337.

                   [Master Docket 6179 & 6183; Subcategory Docket 250 & 252]

      2.     On July 7, 2009, Ven-A-Care, the United States, Defendant Abbott, the

Dey Defendants and the Roxane Defendants filed a Joint Motion for Entry of Additional

Briefing Schedule [Master Docket 6252; Subcategory Docket 273] setting forth the

following briefing deadlines for the Dey case, the Roxane case and Abbott Case

Number 06-11337:



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      Further proceedings on the Defendants’ motions to dismiss and
      supporting memoranda (Abbott, M.D. 6179 & 6183; Roxane M.D. 6196 &
      6197; Dey M.D. 6206 & 6209), and Plaintiffs’ responses to those sections
      of Defendants’ summary judgment memoranda related to each
      Defendant’s motion to dismiss (Roxane/BI SJ Memo at 35-37; Abbott SJ
      Memo at 39-40; and, Dey SJ Memo at 39-40) shall be deferred until after
      the conclusion of the parties’ summary judgment briefing, as follows:

                     Oppositions due: October 19, 2009
                     Replies due: November 2, 2009
                     Sur-replies due: November 16, 2009

The Court granted the July 7, 2009 Motion setting the proposed briefing schedule.

[Docket Order July 13, 2009]

      3.     For the past few months, the Relator has been heavily involved in expert

depositions in related state AWP cases, discovery and Federal Rule of Civil Procedure

30(b)(6) depositions in the Actavis cases and briefing and hearings related to the

Schering settlement. Due to those matters as well as the Relator’s need to address this

Court’s recent October 2, 2009 ruling on the Defendants’ Motion to Dismiss in the

Actavis case regarding the “public disclosure bar” within the Relator’s Opposition to the

Motions to Dismiss in the above referenced actions, the Relator needs an additional

two weeks to file its Opposition to the Defendants’ Motions to Dismiss.

      4.     The Parties in the intervened cases have conferred regarding Ven-A-

Care’s request for additional time and have agreed to the following modification of the

briefing schedule:

      Further proceedings on the Defendants’ motions to dismiss and
      supporting memoranda in the intervened cases(Abbott, Master Docket
      6179 & 6183; Roxane Master Docket 6196 & 6197; Dey Master Docket

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      6206 & 6209), and Plaintiffs’ responses to those sections of Defendants’
      summary judgment memoranda related to each Defendant’s motion to
      dismiss (Roxane/BI SJ Memo at 35-37; Abbott SJ Memo at 39-40; and,
      Dey SJ Memo at 39-40) shall be deferred until after the conclusion of the
      parties’ summary judgment briefing, as follows:

             Oppositions due: November 2, 2009
             Replies due: November 23, 2009
             Surreplies due: December 11, 2009 (accounting for the Thanksgiving
             holiday)

      5.     Additionally, for the convenience of the Court, the Relator desires to

consolidate its Opposition to the motions in the three intervened cases filed by the Dey

Defendants, the Roxane Defendants and filed by Abbott in Case Number 06-11337 into

one memorandum of law not to exceed 50 pages.

                              Abbott Case No. 07-11618

      6.     Defendant Abbott has also filed a motion to dismiss for lack of subject

matter jurisdiction in Abbott Case No. 07-11618 based upon the False Claims Act’s

“public disclosure bar”: Abbott Laboratories, Inc.’s Motion to Dismiss for Lack of

Subject Matter Jurisdiction Under the False Claims Act’s Public Disclosure Bar and

Abbott Laboratories, Inc.’s Memorandum in Support of Motion to Dismiss for Lack of

Subject Matter Jurisdiction Under the False Claims Act’s Public Disclosure Bar Case

No. 07-11618. [Master Docket 6398 & 6399; Subcategory Docket 382 & 383].

      7.     On July 16, 2009, Ven-A-Care and Defendant Abbott filed, in Case No.

07-11618, a Joint Motion to Set Revised, Agreed Upon Briefing Schedule [Master




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Docket 6267; Subcategory Docket 280] setting forth the following briefing deadlines for

Motions in the Abbott Case No. 07-11618:

              Oppositions due: October 23, 2009

              Replies due: November 20, 2009

              Sur-replies due: December 4, 2009

The Court granted the July 16, 2009 Motion setting the proposed briefing schedule.

[Docket Order July 23, 2009].

       8.     For identical reasons to those above, the Relator requests that the Court

modify the briefing schedule in Abbott Case No. 07-11618. Ven-A-Care, with the

agreement of defense counsel in Abbott Case Number 07-11618, requests that the

Court modify the Order on the Joint Motion to Set Revised, Agreed Upon Briefing

Schedule entered by the Court on July 16, 2009 as follows:

              Responses/Oppositions due: November 2, 2009

              Replies due: December 4, 2009 (accounting for the Thanksgiving holiday)

              Sur-replies, if any, due: December 18, 2009

       9.     The Relator does not request to consolidate its Opposition to Abbott’s

Motion to Dismiss in Case Number 07-11618 with the Opposition to the other motions

to dismiss. However, to the extent that there are overlapping legal authorities,

arguments, issues or facts, the Relator requests that the Court allow it to incorporate

the arguments of the opposition to the Motions to Dismiss filed in the Ven-A-Care

intervened cases by reference in an effort to limit duplicative filings.

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        WHEREFORE the Relator respectfully requests that the Court grant this motion,

enter the proposed order extending the time limits for the briefing schedule in the Ven-

A-Care intervened cases and in Abbott Case 07-11618, allowing the Relator to file a

consolidated opposition not to exceed 50 pages in the Ven-A-Care intervened cases,

and allowing the Relator to incorporate by reference arguments of the Opposition to the

Motions to Dismiss filed in the Ven-A-Care intervened cases in its Opposition to

Abbott’s Motion to Dismiss in Abbott Case No. 07-11618 in an effort to limit duplicative

filings .

Dated: October 8, 2009

                                         Respectfully submitted,

                                         For the Relator,
                                         Ven-A-Care of the Florida Keys, Inc.

                                          /s/ Alison W. Simon
                                         James J. Breen
                                         Alison W. Simon
                                         The Breen Law Firm
                                         P. O. Box 297470
                                         Pembroke Pines, FL 33029-7470
                                         Phone: 954-874-1635
                                         Fax: 954-874-1739




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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this 8th day of October, 2009 caused an electronic

copy of the above CONSENT MOTION TO MODIFY BRIEFING SCHEDULE AND

CONSOLIDATE OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS INTO ONE

MEMORANDUM OF LAW to be served on all counsel of record via electronic service

pursuant to Paragraph 11 of Case Management Order No. 2 by sending a copy to

LexisNexis File & Serve for posting and notification to all parties.



                                                  /s/ Alison W. Simon
                                                  Alison W. Simon




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